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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
                v.                          :
                                            :       Case No.: 21-mj-00289
CORRINE MONTONI,                            :
                                            :
                Defendant.                  :


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that the above-captioned matter is now assigned to

Assistant United States Attorney David Perri. AUSA David Perri will be substituting for AUSA

Jeffrey Kiok.



                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052


                                            By:     /s/ David Perri
                                                    David J. Perri
                                                    WV Bar Number 9219
                                                    United States Attorney’s Office
                                                    1125 Chapline St., Ste. 3000
                                                    Wheeling, WV 26003
                                                    (304) 234-0100
         Case 1:21-mj-00289-GMH Document 52 Filed 01/26/23 Page 2 of 2




                                CERTIFICATE OF SERVICE

       On this 26th day of January 2023, a copy of the foregoing was served upon all parties listed

on the Electronic Case Filing (ECF) System.

                                                     /s/ David Perri
                                                     David J. Perri
                                                     WV Bar Number 9219
                                                     United States Attorney’s Office
                                                     1125 Chapline St., Ste. 3000
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